Case 3:19-cv- 01743- N-BT Document 11 Filed 08/29/19 Page1of3 PagelD 155
UNITED STATES DISTRICT COURT

ORIS | NA| FOR THE NORTHERN DISTRICT OF TEXAS 2132/5182 cosy

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Defendant
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